 Case 2:23-cv-09430-SVW-PD        Document 80 Filed 10/09/24   Page 1 of 32 Page ID
                                        #:769


 1   PAUL B. SALVATY (SBN 171507)
     PSalvaty@winston.com
 2   WINSTON & STRAWN LLP
     333 S. Grand Ave., 38th Fl.
 3   Los Angeles, CA 90071-1543
     Telephone: (213) 615-1700
 4   Facsimile: (213) 615-1750
 5   ABBE DAVID LOWELL (admitted pro hac vice)
     AbbeLowellPublicOutreach@winston.com
 6   WINSTON & STRAWN LLP
     1901 L St., N.W.
 7   Washington, D.C. 20036-3508
     Telephone: (202) 282-5000
 8   Facsimile: (202) 282-5100
 9   BRYAN M. SULLIVAN (SBN 209743)
     bsullivan@earlysullivan.com
10   ZACHARY C. HANSEN (SBN 325128)
     zhansen@earlysullivan.com
11   EARLY SULLIVAN WRIGHT GIZER & McRAE LLP
     6420 Wilshire Boulevard, 17th Fl.
12   Los Angeles, California 90048
     Telephone: (323) 301-4660
13   Facsimile: (323) 301-4676
14   Attorneys for PLAINTIFF
     ROBERT HUNTER BIDEN
15
                              UNITED STATES DISTRICT COURT
16
                            CENTRAL DISTRICT OF CALIFORNIA
17
                                     WESTERN DIVISION
18
         ROBERT HUNTER BIDEN, an                 Case No. 2:23-cv-09430-SVW-PD
19       individual,
                                                 Hon. Mag. Judge Patrica A. Donahue
20
              Plaintiff,
21                                               JOINT STATEMENT RE:
                     vs.                         DEFENDANT PATRICK M.
22                                               BYRNE’S DEPOSITION
         PATRICK M. BYRNE, an individual,
23
                                                 Complaint Filed:   November 8, 2023
24           Defendant.                          Trial Date:        December 10, 2024
25   `
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27
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                           JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
 Case 2:23-cv-09430-SVW-PD           Document 80 Filed 10/09/24                    Page 2 of 32 Page ID
                                           #:770


 1                                      TABLE OF CONTENTS
 2                                                                                                                 Page
 3
     I.   EACH PARTIES’ POSITIONS ON THE ISSUES: ............................................ 4
 4
          A.    Plaintiff’s Statement ................................................................................... 4
 5
                1.       Plaintiff’s Position re: Location ....................................................... 4
 6
                2.       Plaintiff’s Position re: Remote Deposition .................................... 12
 7
                3.       Plaintiff’s Response to Defendant’s Position ................................ 14
 8
          B.    Defendant’s Positions: ............................................................................. 22
 9
                1.       Defendant’s Reply to Plaintiff’s Positions .................................... 27
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                           1
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
 Case 2:23-cv-09430-SVW-PD                     Document 80 Filed 10/09/24                        Page 3 of 32 Page ID
                                                     #:771


 1                                              TABLE OF AUTHORITIES
 2                                                                                                                                 Page
 3   CASES
     Balk v. New York Institute of Technology, 974 F.Supp.2d 147 (E.D.N.Y.
 4       2013) ................................................................................................................. 11
 5   Cadent Ltd. v. 3M Unitek Corp., 232 F.R.D. 625, 629 (C.D. Cal. 2005)................ 6
     Cressler v. Neuenschwander (D KS 1996) 170 FRD 20, 21 ................................. 25
 6
     Custom Form Mfg., Inc. v. Omron Corp., 196 F.R.D. 333, 336 (N.D. Ind.
 7       2000) ................................................................................................................... 6
     E.I DuPont de Nemours & Co. v. Kolon Industries, Inc., 268 F.R.D. 45,
 8       54 (E.D. Va. 2010).............................................................................................. 5
 9   Estate of Gerasimenko v. Cape Wind Trading Co. (SD NY 2011) 385,
         390 .................................................................................................................... 25
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         2006) ................................................................................................................. 11
11
     Fausto v. Credigy Serv. Corp. 251 F.R.D. 427, 429 (N.D. Cal. 2008) ............. 4, 27
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         1970) .....................................................................................................22, 25, 28
13
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15   Int’l Soc’y for Krishna Consciousness, Inc. v. Lee 105 FRD 435, 445
         (S.D.N.Y. 1984) ....................................................................................23, 25, 30
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         2003) ................................................................................................................. 11
17
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         (D. Nev. Mar. 14, 2024) ........................................................................... 5, 6, 18
19
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         2023) ............................................................................................................. 9, 18
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         2021 WL 229313 at *5, fn. 4 (N.D. Cal. Jan. 22, 2021) .................................. 13
26
     Willis v. Mullins, No. CV F 04-6542 AWILJO, 2006 WL 302343 (E.D.
27       Cal. Feb. 8, 2006) ............................................................................................. 22
28

                                                                       2
                                 JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
 Case 2:23-cv-09430-SVW-PD                  Document 80 Filed 10/09/24                     Page 4 of 32 Page ID
                                                  #:772


 1   STATUTES
 2   28 U.S.C. § 1783 ................................................................................................8, 10
     28 U.S.C. § 1783(a) ............................................................................................... 11
 3   Fed. R. Civ. Proc., Rule 1 ........................................................................................ 7
 4   Fed. R. Civ. Proc., Rule 26(b)(1)............................................................................. 6
 5   Fed. R. Civ. Proc. 28 .............................................................................................. 12
     Fed. R. Civ. Proc. Rule 28(b) ................................................................................ 21
 6   Fed. R. Civ. Proc., 28(c) .......................................................................................... 9
 7   Fed. R. Civ. Proc. 30(b)(4) ........................................................................12, 25, 30
 8
     OTHER AUTHORITIES
 9   UAE Law No. 11 of 1992 ......................................................................................18
10   UAE Law No. 10 of 1992………………………………………………………..18
11   UAE Law No. 5 of 1985 ........................................................................................ 18

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                               JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
 Case 2:23-cv-09430-SVW-PD       Document 80 Filed 10/09/24       Page 5 of 32 Page ID
                                       #:773


 1         TO THE HONORABLE COURT, pursuant to the Court’s October 4, 2024
 2   Minute Order (Dkt. No. 79), Plaintiff Robert Hunter Biden (“Plaintiff”) and Defendant
 3   Patrick M. Byrne (“Defendant”) (collectively, the “Parties”) hereby submit the
 4   following Joint Statement of Unresolved Deposition Discovery Issues, for the court’s
 5   consideration in ruling on each party’s respective positions on these Issues.
 6   I.    EACH PARTIES’ POSITIONS ON THE ISSUES:
 7         A.     PLAINTIFF’S STATEMENT
 8                1.     Plaintiff’s Position re: Location
 9         Due to the arguments set forth in greater detail below, and the lack of any clearly
10   delineated legal authority authorizing the taking of the deposition of Defendant in
11   Dubai, either in-person or remotely via videoconference, Plaintiff maintains that the
12   deposition should occur in-person somewhere in the United States, or, alternatively, at
13   Winston & Strawn LLP’s offices in either London, England or Paris, France.
14         District Courts have “wide discretion to establish the time and place of
15   depositions.” Hyde & Drath v. Baker, 24 F.3d 1162, 1166 (9th Cir. 1994). There is a
16   general presumption that natural-person defendants should be deposed in the district of
17   his or her residence. See Fausto v. Credigy Serv. Corp., 251 F.R.D. 427, 429 (N.D.
18   Cal. 2008). Defendant admitted in his Answer to the Complaint that he is a resident of
19   Florida (Dkt. No. 27, at ¶10), he signed his verifications for his discovery responses
20   with “STATE OF FLORIDA, COUNTY OF JUPITER” listed at the top (most recently
21   on August 9, 2024), and, according to a public records search, Defendant owns real
22   property in West Palm Beach, Florida, Salt Lake City, Utah, and Potomac, Maryland,
23   is registered to vote in Florida, and has over two dozen business entities associated with
24   him that are located throughout the United States, for which he holds various titles such
25   as President, Chief Executive Officer, Manager, Director, and Officer. Indeed, when
26   Plaintiff’s counsel first proposed that Defendant’s deposition should occur in Florida in
27   the Parties’ September 2, 2024 meet and confer conference call, defense counsel
28   actually offered to find a location for the deposition to occur in Florida. Additionally,

                                                 4
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
 Case 2:23-cv-09430-SVW-PD       Document 80 Filed 10/09/24        Page 6 of 32 Page ID
                                       #:774


 1   as explained further below, Defendant has failed to provide any reliable and verifiable
 2   explanation as to why he claims he moved his residence to Dubai, and has also failed
 3   to provide any valid explanation as to why he is unable to travel to the United States for
 4   his in-person deposition in any district in which he resides, is employed, or has a
 5   principal place of business.      Accordingly, Plaintiff maintains that Defendant’s
 6   deposition should be held in-person somewhere in the United States, preferably in the
 7   Southern District of Florida.
 8         District Courts have compelled defendant deponents that live abroad to appear
 9   for their deposition in the United States and other locations after consideration of
10   various factors. In S.E.C. v. Banc de Binary, No. 2:13-cv-993-RCJ-VCF, 2014 WL
11   1030862 (D. Nev. Mar. 14, 2024) the Court set forth the various factors Federal courts,
12   including the Ninth Circuit, rely upon in determining that the founder of the corporate
13   Defendant, who was a United States citizen and lived in Israel, should appear in the
14   United States for his deposition. See also E.I DuPont de Nemours & Co. v. Kolon
15   Industries, Inc., 268 F.R.D. 45, 54 (E.D. Va. 2010). The Court explained that except
16   for the “wide discretion” Federal Rule of Civil Procedure 26 grants district courts to
17   establish a deposition’s location (see Hyde & Drath, supra, 24 F.3d at 1166), “[t]he
18   Federal Rules of Civil Procedure are otherwise silent with regard to choosing a
19   deposition’s location … [and] [w]here, as here, there is no place that appears convenient
20   for the parties, the task of deciding the proper location falls on the court.” S.E.C., 2014
21   WL 1030862 at *3 “In developing this standard, courts consider whether ‘circumstances
22   exist distinguishing the case from the ordinary run of civil cases.’” (Id. (quoting In re
23   Outsidewall Tire Litig., 267 F.R.D. 466, 471 (E.D. Va. 2010)).
24
25                When making this determination courts in the Ninth Circuit
                  apply a five-factor test (the Cadent factors) 1: (1) the location
26
     1
27    Both S.E.C. v. Banc de Binary and Cadent Ltd. v. 3M Unitek Corp. involved corporate
     defendants and the depositions of corporate deponents rather than individual
28   defendants.

                                                 5
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
 Case 2:23-cv-09430-SVW-PD       Document 80 Filed 10/09/24        Page 7 of 32 Page ID
                                       #:775


 1                of counsel for the parties in the forum district; (2) the number
 2                of corporate representatives a party is seeking to depose; (3)
                  the likelihood of significant discovery disputes arising which
 3                would necessitate-resolution by the forum court; (4) whether
 4                the persons sought to be deposed often engage in travel for
                  business purposes; and (5) the equities with regard to the
 5                nature of the claim and the parties’ relationship.
 6
     S.E.C., 2014 WL 1030862 at *3 (quoting Cadent Ltd. v. 3M Unitek Corp., 232 F.R.D.
 7
     625, 629 (C.D. Cal. 2005)).
 8
           However, evaluation of the Cadent factors “is not the only test” because Courts
 9
     must also consider “whether the deposition would be impeded by the foreign nation’s
10
     laws or would affront the nation’s judicial sovereignty.” S.E.C., 2014 WL 1030862 at
11
     *3-4 (citing Custom Form Mfg., Inc. v. Omron Corp., 196 F.R.D. 333, 336 (N.D. Ind.
12
     2000) (“If a federal court compels discovery on foreign soil, foreign judicial sovereignty
13
     may be infringed”).) This means “Rule 28(b) must also be considered” because “Rule
14
     28(b) governs depositions in foreign countries and prescribes four methods for taking
15
     depositions abroad.” (S.E.C., 2014 WL 1030862 at *4.) These four methods are:
16
17
                  (A) under an applicable treaty or convention;
18
                  (B) under a letter of request, whether or not captioned a ‘letter
19                rogatory’;
20
                  (C) on notice, before a person authorize3d to administer oaths
21                either by federal law or by law in the place of examination; or
22                (D) before a person commission by the court to administer
23                any necessary oath and take testimony.
24   (Fed. R. Civ. Proc., Rule 26(b)(1).)    The Court in S.E.C. v. Banc de Binary further
25   explained that the Court must also consider Federal Rule of Civil Procedure 1, which
26   instructs courts “to construe and administer the rules ‘to secure the just, speedy, and
27   inexpensive determination of every action and proceeding” and which “[c]ourts
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                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
 Case 2:23-cv-09430-SVW-PD       Document 80 Filed 10/09/24        Page 8 of 32 Page ID
                                       #:776


 1   routinely apply [] when determining whether to locate a deposition.” S.E.C., 2014 WL
 2   1030862 at *4 (quoting Fed. R. Civ. Proc., Rule 1; citing Cadent, 232 F.R.D. at 630).
 3   Based on the foregoing tests, the Court in S.E.C. v. Banc de Binary concluded that “the
 4   governing law requires the court to make three distinct inquiries: (1) whether the parties
 5   claims and contacts with the forum warrant locating the deposition at home or abroad;
 6   (2) whether a foreign deposition will offend or infringe that nation’s judicial
 7   sovereignty; and (3) whether less expensive and more reasonable alternatives exist.”
 8   S.E.C., 2014 WL 1030862 at *4.
 9         Applying the Cadent factors shows Dubai is not a practical and logical location
10   for Defendant’s in-person deposition. The first factor considers the location of counsel
11   for the parties in the forum district. Defendant’s counsel is located in Westlake Village,
12   California in the Central District of California; Plaintiff’s two sets of counsel also both
13   have offices in Los Angeles, California in the Central District of California. Regardless,
14   all counsel for all parties are located in the United States, and Plaintiff’s counsel are
15   willing to travel within the United States as far as the Southern District of Florida to
16   take this deposition.      The second factor considers the number of corporate
17   representatives that must be deposed. This factor does not fit in this case considering
18   Defendant is an individual, however, because of this fact, only one deposition will need
19   to occur outside of Dubai. The third factor considers the likelihood of discovery
20   disputes arising during the deposition which would necessitate Court resolution. This
21   factor does not apply here because this Court informed the Parties’ counsel at the
22   October 4, 2024 Informal Discovery Conference (“IDC”) that it does not make itself
23   available to resolve disputes that arise during depositions. The fourth factor considers
24   whether the deponent often engages in travel for business purposes to the proposed situs
25   of the deposition including whether “the defendant reached into the forum where the
26   deposition” was set to occur. Id. at *7 (citing Turner v. Prudential Ins. Co. of America,
27   119 F.R.D. 381, 384 (M.D. N.C. 1988)). While Defendant’s social media posts make
28   it clear he travels extensively throughout the World, including to Florida specifically,

                                                 7
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
 Case 2:23-cv-09430-SVW-PD        Document 80 Filed 10/09/24        Page 9 of 32 Page ID
                                        #:777


 1   by causing his defamatory statements at issue in this lawsuit to be published on the
 2   Internet and throughout the United States and by not refuting this Court’s personal
 3   jurisdiction over him, it is fair to say Defendant has purposely reached into the forum
 4   in which the deposition is set to occur – both the Southern District of Florida and the
 5   Central District of California.
 6         Finally, the fifth factor considers the equities with regard to the nature of the
 7   claim and the parties’ relationship and is perhaps the most influential factor in this case.
 8   As the Court in S.E.C. v. Banc de Binary noted, “[e]stoppel is an equitable principle that
 9   precludes a party from asserting something contrary to a previous assertion.” Id. at *7.
10   In S.E.C. v. Banc de Binary the Court noted that the defendant corporation had
11   advertised itself as being based in the United States despite being incorporated in
12   Cyprus, Israel, and the Seychelles, and that “[p]ermitting Banc de Binary to now benefit
13   from its status as a foreign corporation after it has exploited its appearance as an
14   American company would be fundamentally inequitable.” (Id. at *7.) The Court also
15   noted that the founder of the defendant corporation was an American citizen and that
16   “[c]itizenship includes responsibilities … [including] the obligation to return home and
17   testify at a deposition [citing 28 U.S.C. § 1783].” (Id. at *9.) The Court ultimately
18   found in this regard that the defendant deponent:
19                [I]s an American citizen who, by virtue of his citizenship,
20                retains certain responsibilities to the country while abroad. It
                  would be fundamentally inequitable to allow [the defendant
21                deponent] to have enjoyed the benefits of his citizenship as he
22                operated his businesses at home, and then excuse him of any
                  associated responsibilities because he happens to live abroad.
23
24   Id. at *9. This factor is aptly relevant here. Defendant is an American citizen who has
25   numerous business located throughout the United States, took advantage of the First
26   Amendment’s freedom of speech and freedom of press to cause his defamatory
27   statements to be published throughout the United States, appeared in this action and
28   admitted in his Answer that he was a resident of Florida (see Dkt. No. 27, at ¶10), and

                                                  8
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD        Document 80 Filed 10/09/24       Page 10 of 32 Page ID
                                        #:778


 1   now is refusing to travel back to the United States to appear for a lawful deposition
 2   regarding his actions in the United States. This is grossly inequitable.
 3         The second test is that of the Federal Rules of Civil Procedure, which require a
 4   party arguing that a deposition must occur abroad to show compliance with Rule 28(b).
 5   (See Fed. R. Civ. Proc., 28(c).) Defendant cannot satisfy Rule 28(b) here and therefore
 6   this mitigates against conducting the deposition in Dubai. As set forth in detail below:
 7   (1) there is no treaty or convention that the U.A.E. is a member of which provides any
 8   authorization for a deposition of a U.S. citizen to occur in Dubai for use in a U.S.
 9   lawsuit; (2) the parties would be required to seek permission from the government of
10   the U.A.E. via a letter of request or letter rogatory for the deposition to occur and there
11   is no indication that can or will occur; (3) there is no authority which demonstrates that
12   a deposition can lawfully occur within the U.A.E. before a person authorized to
13   administer oaths under federal law, which must be the governing body of law for any
14   deposition in this matter; and (4) there is no authority to show that a person
15   commissioner by the Court to administer any oaths and take testimony are legally
16   allowed to do so in the U.A.E. for use in a U.S. lawsuit.
17         Other federal districts have engaged in similar evaluations to determine whether
18   a deposition can lawfully and practically occur in Dubai for use in a U.S. lawsuit.
19   Specifically, US v. SLH2021 S.A., No. 23-2305, 2023 WL 5146470 (E.D. La. Aug. 10,
20   2023), involved a deponent employee for the defendant that was located in Dubai. The
21   Plaintiff wished to compel the deponent to appear in Louisiana for his deposition where
22   the action was pending, while the defendant argued the deposition should occur where
23   the deponent resided in Dubai. (Id.) The Court ultimately ordered the deponent to
24   appear in Louisiana for his deposition after consideration of the following factors: (1)
25   “the absence of any provisions for the taking of witness evidence for use in another
26   jurisdiction in the UAE Code of Civil Procedure”; (2) “the U.S. Department of State’s
27   warning to U.S. citizens about traveling in the Gulf and Arabian Peninsula”; (3) “given
28   that this Court has been called upon twice to address discovery disputes in this barely

                                                 9
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD        Document 80 Filed 10/09/24       Page 11 of 32 Page ID
                                        #:779


 1   five-week old case, the need for court intervention during the deposition appears high.
 2   With Dubai’s 9-hour time difference … locating the depositions [in Dubai] renders it
 3   virtually impossible for this Court to intervene should any issues arise during the
 4   depositions”; and (4) the fact that the defendant’s counsel of record was located and had
 5   his principal place of business in the district where the matter was pending in the U.S.
 6   Id. at *6-7.   These factors are aptly relevant in our case because (1) there are no
 7   provisions in the U.A.E.’s Civil Code, Code of Civil Procedure, or Evidence Law
 8   pertaining to taking depositions in Dubai for use in the United States; (2) as noted
 9   below, the U.S. State Department’s level 2 warning and designated threat level
10   regarding travel for U.S. Citizens remains in effect; (3) as noted above, the Court at the
11   October 4, 2024 IDC informed the Parties’ counsel that it does not make itself available
12   to resolve discovery disputes that arise during a deposition, so this factor is nullified
13   here; and (4) defense counsel’s law firm is located in Westlake Village, California – the
14   same district in which this case is located.
15         Moreover, In re Outsidewall Tire Litigation, 267 F.R.D. 466 (E.D. VA 2010),
16   the Court acknowledged that in determining whether it was appropriate to conduct a
17   deposition of a party in Dubai, several factors must be considered, including whether
18   “some facet of Dubai law might operate to hinder or obstruct plaintiffs in taking the
19   depositions in Dubai” (i.e., the Court noting in U.S. v. SLH2021 that there is an absence
20   of any provisions for the taking of witness evidence for use in another jurisdiction in
21   the U.A.E. Code of Civil Procedure and not being a party to the Hague Convention on
22   Taking Evidence Abroad in Civil Matters, as outlined below), and “whether defendants’
23   conduct in discovery suggests that they or the deponents will be uncooperative or
24   obstructionist if the depositions occur in Dubai.” Once again, both of these factors are
25   aptly relevant here.
26         Finally, 28 U.S.C. § 1783 authorizes district courts to order the issuance of a
27   subpoena requiring “a national or resident of the United States who is in a foreign
28   country” to appear before it or a court officer (i.e., deposition reporter) to provide

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                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD       Document 80 Filed 10/09/24        Page 12 of 32 Page ID
                                       #:780


 1   deposition testimony, if (1) the particular testimony “is necessary in the interest of
 2   justice”; and (2) “it is not possible to obtain his testimony in admissible form without
 3   his personal appearance.” 28 U.S.C. § 1783(a); see also Estate of Ungar v. Palestinian
 4   Authority, 412 F.Supp.2d 328 (S.D.N.Y. 2006); Balk v. New York Institute of
 5   Technology, 974 F.Supp.2d 147 (E.D.N.Y. 2013). Under this statute, testimony is
 6   deemed “necessary” in the “interest of justice” if it is discoverable under the Federal
 7   Rules of Civil Procedure. See Klesch & Co. Ltd. v. Liberty Media Corp., 217 F.R.D.
 8   517, 523 (D. Colo. 2003). The testimony of Defendant in this case clearly satisfies this
 9   requirement. Further, given the utter void of any legal authority to support the premise
10   that a deposition of a U.S. citizen for use in the U.S. federal lawsuit can lawfully occur
11   in Dubai (see, infra), it is not possible to obtain Defendant’s testimony in admissible
12   form without the Court ordering his personal appearance somewhere other than the
13   United Arab Emirates (“U.A.E.”). The decision to issue a subpoena under this statute
14   is left to the Court’s sound discretion. See Klesch & Co. Ltd., 271 F.R.D. at 523.
15   Unlike the U.A.E., both France 2 and England 3 are signatories to the Hague Convention
16   on Taking Evidence Abroad in Civil Matters 4, and thus each country allows depositions
17   of willing U.S. Citizens to take place in those countries for use in U.S. lawsuits. 56
18   2
       https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Country-
19   Information/France.html
     3
       https://travel.state.gov/content/travel/en/legal/Judicial-Assistance-Country-
20   Information/UnitedKingdom.html
     4
21     https://www.hcch.net/en/instruments/specialised-sections/evidence
     5
        “Attorneys seeking to depose witnesses in England & Wales . . . can either do so (1)
22   voluntarily by agreement or (2) by compulsion under subpoena by order of the English
     High Court. A voluntary deposition can be on terms agreed between the parties,
23   including as to the applicable law and procedure; the parties are at liberty to agree [to]
     anything they want.” Cooley LLP, What US Lawyers Should Know About Taking a
24   Deposition          in      England        and      Wales       (May      14,      2015),
     https://www.cooley.com/news/insight/2015/what-us-lawyers-should-know-about-
25   taking-a-deposition-in-england-and-wales
     6
26       “In England, however, depositions may be conducted or documents procured
     voluntarily. Where such evidence cannot be obtained by agreement, recourse to an
27   English court is necessary.” Ronald E. Myrick, Obtaining Evidence Abroad For Use
     in United States Litigation, 15 Suffolk Transnat’l L.J. 1 (1991),
28   https://1.next.westlaw.com/Link/Document/FullText?findType=Y&serNum=0102204
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                                                11
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD       Document 80 Filed 10/09/24       Page 13 of 32 Page ID
                                       #:781


 1   Accordingly, the Court has the power and the discretion to order Defendant’s in-person
 2   deposition to occur in the United States, or even in France or England.
 3                2.    Plaintiff’s Position re: Remote Deposition
 4         With respect to the possibility of conducting Defendant’s deposition remotely by
 5   videoconferencing, there is also a complete lack of any governing legal authority in
 6   Dubai which provides guidance, and the relevant foregoing legal authority must still be
 7   complied with. Unlike the United States, and many other Western countries, such as
 8   the United Kingdom and France, the U.A.E. is not a party to the Hague Convention on
 9   Taking Evidence Abroad in Civil Matters. As such, the U.A.E. is not bound by
10   international law with respect to the collection of evidence in civil matters in the same
11   way other Hague Convention signatory countries are bound, such as the United States,
12   either for in-person depositions or remote depositions by videoconference. If they were,
13   then their specific agreements and procedures for conducting such discovery in the
14   U.A.E. would be clearly defined. It is not. For instance, in 2018 the Hague Convention
15   released a synopsis of responses from signatory countries to the Hague Convention on
16   Evidence regarding the procedures they recognize and accept for taking evidence by
17   video-link (i.e., virtual depositions). This document clearly defines each signatory
18   country’s accepted procedures. Plaintiff’s counsel has been unable to locate any such
19   set of procedures that the U.A.E. accepts for remote depositions by videoconference.
20   This is concerning because even if Defendant’s deposition were to occur remotely by
21   videoconference while he is in Dubai, Fed. R. Civ. Proc. 30(b)(4) provides that a
22   deposition by remote means is deemed to “take place where the deponent answers the
23   questions.” Which means by conducting a remote deposition with the deponent in
24   Dubai, the Parties would be subjecting themselves to the laws and procedures in Dubai,
25   which, as described above, has no procedures for collecting evidence for foreign
26   litigation. Moreover, Fed. R. Civ. Proc. 28 recognizes that in some countries it is
27
     fType=LR&originationContext=document&transitionType=DocumentItem&ppcid=d
28   7ac2fd1fa8044f1b7c6924f8bc583e3&contextData=(sc.Search)#co_pp_sp_1241_8

                                                12
                       JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD       Document 80 Filed 10/09/24       Page 14 of 32 Page ID
                                       #:782


 1   customary not to place a deponent under oath or to take a verbatim transcript. That is
 2   simply not an option here and Plaintiff has no legal authority showing Dubai will allow
 3   a deposition to occur within its borders under the procedures required in United States
 4   Federal Court cases, such as this.
 5         Additionally, the Court noted in S.E.C. v. Banc de Binary that “[i]f the parties
 6   stipulate to videoconferencing, they are ordered to comply with Rule 28(b) to avoid
 7   infringing in Cyprus, Israel, or the Republic of Seychelles’ judicial sovereignty.”
 8   S.E.C., 2014 WL 1030862 at *11, fn. 16. While not binding in this case, given
 9   Defendant’s inability to show that the parties can conduct a deposition in Dubai that
10   complies with Rule 28(b), as noted above, this mitigates against conducting a remote
11   deposition by videoconference while Defendant is located in Dubai. Moreover, as set
12   forth in detail below, there is no body of law that prescribes what procedures the U.A.E.
13   authorizes for conducting a remote deposition of a U.S. citizen in Dubai for use in a
14   U.S. lawsuit. Further, the case U.S. v. Fargesen, No. 21-cr-602, 2022 WL 16647005
15   (S.D.N.Y. Nov. 3, 2022) shows that in order to take the deposition of two defendants
16   located in Dubai by remote means, the prosecutors were required to send a Letter
17   Rogatory to the U.A.E. government to ask their permission under the condition that the
18   deposition must occur at the U.S. Embassy in the U.A.E. This further emphasizes the
19   complexity of conducting a remote deposition with Defendant located in Dubai.
20         Further, at Plaintiff’s remote deposition, defense counsel repeatedly stopped the
21   deposition without notice to call his client and ask for additional questions, thereby
22   making Plaintiff, his counsel, and the court reporter all wait for indefinite periods of
23   time while Defendant coached his own attorney. Plaintiff would like to avoid this and
24   an in-person deposition, regardless of the location, would obviate these concerns.
25   Regardless, despite the increase in use of remote depositions recently “[i]n-person
26   depositions are [still] the preferred course[.]” Vasquez v. Draper and Kramer Mortgage
27   Corp., No. 20-cv-06635-YGR, 2021 WL 229313 at *5, fn. 4 (N.D. Cal. Jan. 22, 2021);
28   see also Pirtle v. Netflix, Inc., 2024 WL 99072 at *4 (C.D. Cal. Feb. 16, 2024).

                                                13
                       JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD         Document 80 Filed 10/09/24           Page 15 of 32 Page ID
                                         #:783


 1   Additionally, in a defamation case such as this where Defendant’s propensity to engage
 2   in dishonesty and to lie are directly at issue, Plaintiff has a significant and valid interest
 3   in conducting the deposition in-person so that Defendant’s reactions, facial expressions,
 4   and body language can be more readily and clearly observed. In addition, during the
 5   deposition of Mr. Biden, plaintiff and his counsel were in communications “off line” on
 6   various occasions. A remote deposition of a party allows this sort of interaction to occur
 7   which would not be known or possible in person. If the Defendant is ordered to travel
 8   for his deposition, then an in-person deposition of Defendant in whatever location he is
 9   ordered to travel to is Plaintiff’s preferred course of action.
10                3.     Plaintiff’s Response to Defendant’s Position
11         Defendant has maintained for nearly a month now that he has moved his
12   permanent residence to Dubai out of fear for his life and, as a result, Plaintiff must either
13   travel to Dubai to take his deposition or Plaintiff must capitulate to conducting
14   Defendant’s deposition by remote means, despite the lack of legal authority authorizing
15   such a deposition to occur in Dubai of a U.S. citizen for use in a U.S. lawsuit. In this
16   regard, after weeks of discussions regarding the scheduling of Defendant’s deposition,
17   counsel for Defendant made written representations to Plaintiff’s counsel for the first
18   time on September 11, 2024 that Defendant had moved his permanent residence to
19   Dubai, United Arab Emirates (“U.A.E.”), and could not travel to the United States for
20   his deposition because he “was recently notified by the United States DEA that the
21   Venezuelan government has a $25,000,000 on his head.” (See Exhibit 1.) Then, at the
22   September 18, 2024 IDC, defense counsel made the same representations to the Court,
23   this time on the record: “[Defendant] had been involved in some covert activities in
24   Venezuela, and he was informed by the DEA that there is a $20 million bounty on his
25   head, and he also had been receiving death threats because of that activity.” (See
26   Exhibit 2 (“September 18 IDC Trans.”), at 7:9-15.) At the September 18 IDC, the Court
27   then ordered Defendant to “submit a declaration as to where he is currently located, as
28   to whether he has any plans to be anywhere within the United States between today and

                                                  14
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD        Document 80 Filed 10/09/24         Page 16 of 32 Page ID
                                        #:784


 1   the date the case sets for trial and stating the reason why he cannot return to the United
 2   States between now and then and provide the identifying information and contact
 3   information for whoever it is that has conveyed to him that he should not return to the
 4   United States between now and the trial[.]” (See September 18 IDC Trans., at 18:15-
 5   25.)
 6          However, in violation of the Court’s Order, Defendant’s court-ordered

 7   Declaration did not even mention the DEA, nor did it provide any additional details

 8   about his Venezuela claim, and it did not provide any identifying information or contact

 9   information for anyone sufficient to allow Plaintiff to confirm Defendant’s claims in

10   this regard. Instead, for the first time, and in direct contrast with defense counsel’s prior

11   claims to Plaintiff’s counsel and to the Court, Defendant’s declaration now states that

12   in August 2024, Defendant was in Ghana cooperating with an official with the Ghanian

13   Ministry of Security who informed Defendant that “criminals in West Africa were

14   cooperating to get me in a position where I could be kidnapped.” Defendant further

15   states that in addition to news about the West African kidnapping scheme, Defendant

16   was also informed that Venezuela was attempting to kidnap him and had put a

17   $25,000,000 bounty on his head. Defendant then states in his declaration that when he

18   finished his travels he decided not to return to the United States because local police in

19   the United States “cannot provide me with the safety I need for my personal safety”, so

20   he moved to Dubai and does not plan to return to the United States “anytime between

21   now and November 10, 2024.” (See Defendant’s Declaration.)

22          Accordingly, Defendant failed to state that he will not be returning to the United

23   States any time before trial and failed to provide identifying and contact information for

24   whomever informed Defendant of the information which forms the basis of his claims

25   that he cannot return to the United States. Notably, at the September 18 IDC, defense

26   counsel specifically represented to the Court that “[w]ith respect to [Defendant] coming

27   back, obviously, he’ll be back here for trial[.]” (September 18 IDC Trans., at 8:15-16.)

28   As such, to date, Defendant has failed to provide sufficient reliable and verifiable

                                                  15
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD        Document 80 Filed 10/09/24       Page 17 of 32 Page ID
                                        #:785


 1   evidentiary support to his claims that form the basis for his demand to have the
 2   deposition occur in Dubai and his refusal to travel to the United States for the
 3   deposition. As a result, Plaintiff is left with the options of accepting the claims of a
 4   defendant whose propensity to be dishonest and to lie is directly at issue in this case and
 5   proceeding with a deposition in Dubai despite no legal authority demonstrating that to
 6   do so is legal or proper, as shown below, or to insist on an alternative location for the
 7   in-person deposition to occur legally.
 8         With respect to the Parties’ applicable research regarding the legality of
 9   conducting a deposition in Dubai, at the September 18 IDC, the Court asked defense
10   counsel whether he had performed any research into the laws pertaining to conducting
11   a deposition in Dubai, either in-person or by videoconference, to which defense counsel
12   said he had. (September 18 IDC Trans., at 9:21-10:21.) However, when he produced
13   this “research” to Plaintiff’s counsel on September 20 and September 23, defense
14   counsel’s research was comprised of two different business marketing pamphlets for
15   deposition servicing companies in Dubai that did not contain citations to any laws or
16   legal authority whatsoever, and a third marketing pamphlet for a travel agency
17   advertising tourism in Dubai, which apparently was meant to prove it was safe for U.S.
18   Citizens to travel to Dubai. (See Exhibit 3.) These advertising pamphlets come up as
19   the initial “search results” in a simple Internet search on Google. No other legal
20   research was, or has since been, produced by Defendant’s counsel in this regard.
21         Instead, Defendant now submits the Declaration of Kimberlee Carmen (“Ms.
22   Carmen”), from Optima Juris International Deposition Agency, which was one of the
23   companies Defendant initially provided a marketing pamphlet for in support of his
24   argument at the October 4, 2024 Informal Discovery Conference. First, it should be
25   noted that Ms. Carmen’s declaration does not contain citations to any legal authority,
26   nor does it include an attestation that Ms. Carmen is a legal professional. Instead this
27   declaration is being made by an employee of a for-profit company about its own
28   capabilities to arrange depositions abroad to solicit clients, which makes it unreliably

                                                 16
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD       Document 80 Filed 10/09/24        Page 18 of 32 Page ID
                                       #:786


 1   biased. As such, just like the marketing pamphlets Defendant submitted previously,
 2   Ms. Carmen’s declaration has zero legal relevance whatsoever.              However, this
 3   declaration does further underscore Plaintiff’s argument here because Ms. Carmen
 4   confirmed that the research she and her company do to confirm whether depositions can
 5   legally occur in Dubai for use in the United States District Courts is limited to simply
 6   checking the U.S. State Department’s website to review the applicable rules and
 7   procedures that each country requires. Plaintiff’s counsel already reviewed the U.S.
 8   State Department’s webpage for the U.A.E. at the very beginning of this research and
 9   found it to be unhelpful. In fact, Ms. Carmen confirmed what Plaintiff’s counsel already
10   knew, that there are no Hague Convention requirements that apply (because the U.A.E.
11   is not a signatory) and there are no rules, laws, or procedures for taking a deposition in
12   Dubai for use in a U.S. lawsuit. This is exactly Plaintiff’s point. There are no laws or
13   procedures in Dubai which provide clarity as to the legality of conducting a deposition
14   there, either in-person or remotely, and the Parties simply cannot proceed in that regard
15   without this much needed clarification. Accordingly, none of the marketing materials
16   Defendant has submitted to date provide any legal, relevant ,or reliable basis to confirm
17   defense counsel’s claims that a deposition can legally or logistically occur in Dubai for
18   use in a U.S. lawsuit, either in-person or virtually by videoconference.
19           The research Plaintiff’s counsel has conducted, however, and that was provided
20   to defense counsel on September 20, 2024, demonstrates that: (1) there are no laws or
21   procedures in Dubai regarding conducting depositions in Dubai for use in a foreign
22   lawsuit, let alone such legal authority which authorizes the same; (2) there is no body
23   of international law which provides any guidance in this regard; and (3) serious safety
24   implications exist for U.S. citizens traveling to Dubai currently (and the region
25   generally). In fact, relevant case law from multiple federal districts indicates that
26   conducting a deposition in Dubai for a lawsuit pending in the United States is not
27   practical and various important factors must be considered 7. Plaintiff’s research also
28   7
         See S.E.C. v. Banc de Binary, No. 2:13-cv-993-RCJ-VCF, 2014 WL 1030862 (D. Nev.

                                                17
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD        Document 80 Filed 10/09/24        Page 19 of 32 Page ID
                                        #:787


 1   confirmed that the U.A.E. has: (1) no applicable laws or procedures regarding the
 2   collection of evidence in the UAE to support foreign litigation; (2) no applicable laws
 3   or procedures available to obtain evidence from a witness in the UAE; and (3) no laws
 4   or procedures to enforce a request from a foreign court for witness or documentary
 5   evidence in the U.A.E. In fact, from the legal authorities Plaintiff’s counsel reviewed
 6   on this issue, it is clear that the U.A.E. does not recognize the procedures for depositions
 7   in the same manner that courts in the United States do, or other Western countries do.
 8   The word “deposition” or “oral testimony” do not appear in the U.A.E.’s Civil
 9   Procedure Code (UAE Law No. 11 of 1992), Evidence Law (UAE Law No. 10 of 1992),
10   or Civil Code (UAE Law No. 5 of 1985).
11         Additionally, the document attached hereto as “Exhibit 4” is titled “Rules of
12   evidence including crossborder evidence in civil proceedings Q&A United Arab
13   Emirates” and was prepared by an international law firm, Bird & Bird LLP. Exhibit 4
14   lists several questions and responses starting on page 8 regarding the U.A.E.’s
15   procedures for allowing evidence to be obtained in the U.A.E. specifically for the
16   purpose of being used in a foreign litigation. The U.A.E.’s response to almost every
17   such question is “The UAE is not a party to the Hague Evidence Convention” or other
18   vague statements confirming the U.A.E. has no applicable procedures or laws
19   authorizing such evidence collection.
20         There are also safety implications that must be considered as well. Currently the
21   U.S. State Department lists the U.A.E. as a Level 2 threat for U.S. citizens traveling
22   abroad and has issued a travel advisory in this regard citing the “threat of missile or
23   drone attacks and terrorism.” (See U.S. State Dep’t page for U.A.E. travel, available at
24   https://travel.state.gov/content/travel/en/international-travel/International-Travel-
25   Country-Information-Pages/UnitedArabEmirates.html). These are unnecessary safety
26   risks that are perhaps the most important considerations, especially in light of the
27
     Mar. 14, 2024), US v. SLH2021 S.A., No. 23-2305, 2023 WL 5146470 (E.D. La. Aug.
28   10, 2023) and In re Outsidewall Tire Litigation, 267 F.R.D. 466 (E.D. VA 2010).

                                                 18
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD        Document 80 Filed 10/09/24       Page 20 of 32 Page ID
                                        #:788


 1   ongoing international conflicts that are occurring in the Middle East (Dubai is located
 2   about 100 miles across the Persian Gulf from Iran).
 3         When Plaintiff recently proposed to Defendant a stipulation to conduct his in-
 4   person deposition in either London, England or Paris, France, Defendant refused. (See
 5   Exhibit 5.) In doing so, defense counsel reiterated the false claim that permission must
 6   be obtained from the French and English governments to conduct a deposition in either
 7   country. While such permission is required for deposing French or English citizens or
 8   nationals in either country, the research Plaintiff set forth above shows that the
 9   deposition of a witness who is a U.S. citizen and is voluntarily appearing for their
10   deposition, may be conducted pursuant to stipulation to abide by the Federal Rules of
11   Civil Procedure without the need for any such government approval. Defendant’s
12   Exhibits “A” and “B” in support of his claim that such permission must be obtained are
13   red-herrings. On page two of both Exhibits “A” and “B” the drop-down tab for
14   “Obtaining Evidence in Civil and Commercial Matters” is opened and referenced by
15   Defendant, however, just below that the drop-down tab for “Taking Voluntary
16   Depositions of Willing Witnesses” is not opened and is in fact the portion that clearly
17   states that voluntary depositions of a witness may occur in either country without
18   additional formalities. Plaintiff cited to both of these same websites in footnotes 2 and
19   3 above (see, supra, pg. 8, at fn. 2-3) and provided links thereto for the Court to view
20   for itself. If the Parties were to agree for the deposition of Defendant to occur in either
21   location, then it would qualify as the taking of a “voluntary deposition of a willing
22   witness” and none of the formalities Defendant cites to under the Hague Convention
23   would be required; rather the Parties could simply proceed on stipulation to abide by
24   the Federal Rules of Civil Procedure, Federal Rules of Evidence, and Central District
25   of California local Rules. Moreover, attorneys in Plaintiff’s counsel’s offices located
26   in both Paris, France and London, England have confirmed this informal procedure
27   without foreign court or government involvement occurs often in complete compliance
28   with the laws of those countries.

                                                 19
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD        Document 80 Filed 10/09/24        Page 21 of 32 Page ID
                                        #:789


 1         We have no similar confirmation for the U.A.E. Instead, once again, defense
 2   counsel maintains that a deposition can occur in Dubai without any formalities, which
 3   as set forth previously herein, is a position without any evidentiary support and is
 4   contrary to the vast amount of authority cited by Plaintiff herein. Also, Defendant’s
 5   position that the Court has the ability to order the deposition to occur in Dubai, or
 6   remotely with Defendant located in Dubai, assumes there is the required legal authority
 7   showing that a deposition of a U.S. citizen for use in a U.S. Federal lawsuit can legally
 8   occur in Dubai, either in-person or remotely via Zoom. However, to date Defendant
 9   has failed to produce any such legal authority and thus his arguments in that regard are
10   nullified thereby.
11         Additionally, defense counsel claimed he would not agree to a deposition in
12   either England or France because Plaintiff did not offer to pay for his travel fees. It
13   should be noted that while Defendant offered to pay upwards of $70,000 to $80,000 to
14   pay for Plaintiff’s counsel, a court reporter, and videographer to travel to Dubai and
15   take his deposition his deposition, if he had accepted Plaintiff’s proposal he would only
16   be paying for himself and his attorney to travel to France or England, thereby saving
17   thousands of dollars. Also, this proposal would allow more of Plaintiff’s attorneys to
18   attend (Defendant only offered to pay for one attorney for Plaintiff to fly to Dubai),
19   would generally be more convenient for all involved, and would locate the deposition
20   in a western country that recognizes U.S. litigation procedures. Finally, once again
21   defense counsel insisted the deposition of Defendant occur remotely via zoom with
22   Defendant in Dubai and counsel for the Parties located in the United States. And once
23   again, defense counsel has still failed to provide any legal authority which shows it is
24   both legal and practical to conduct such a remote deposition in Dubai. Without such
25   authority, this is simply not an option at this time. Plaintiff would also like to avoid any
26   coaching of the witness that a remote deposition would make possible, which occurred
27   during Plaintiff’s deposition, as noted previously herein.
28         Next, Defendant’s response to Plaintiff’s positions is comprised of

                                                 20
                          JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD        Document 80 Filed 10/09/24       Page 22 of 32 Page ID
                                        #:790


 1   misrepresentations of Plaintiff’s research and the facts, as well as improper assumptions
 2   apparently meant to fill in the gaps left by the lack of legal authority on this issue as
 3   Defendant sees fit. Defendant’s argument that this issue is the result of Plaintiff’s delay
 4   tactics could not be further from the truth as the record clearly shows Plaintiff’s counsel
 5   has been diligently pursuing scheduling this deposition since August 20, 2024, and their
 6   efforts have been stymied by Defendant’s own delays, particularly their failure to
 7   inform Plaintiff’s counsel that Defendant moved to Dubai until nearly a month later on
 8   September 11, 2024. Moreover, Defendant’s claim that he has been delayed in filing a
 9   motion for summary judgment because his own deposition has not occurred is a red-
10   herring because defense counsel could very easily obtain a declaration from his client
11   stating all facts he would need to support such a motion. It is Plaintiff that is being
12   prejudiced by the ongoing delays in scheduling Defendant’s deposition – not Defendant.
13   Likewise, Defendant’s claims that Plaintiff has not submitted any new research or legal
14   authority than that which was submitted prior to the October 4, 2024 Informal
15   Discovery Conference is clearly false, as a simple review of Plaintiff’s positions makes
16   clear. In this additional research, contrary to Defendant’s claims, Plaintiff does in fact
17   address Fed. R. Civ. Proc. Rule 28(b) in depth and does address each of the various
18   methods for taking a deposition set forth thereunder. Plaintiff also sets forth extensive
19   case law and analysis that is directly relevant to this issue. Plaintiff also never states
20   the Hague Convention rules must be followed for a deposition in Dubai. Rather,
21   Plaintiff’s entire argument is based on the fact that no such laws exist and the Hague
22   Convention does not apply. In addition, Defendant takes the quantum leap in reasoning
23   to conclude that because the U.A.E. is not a signatory to the Hague Convention this
24   means there are no laws or rules in the U.A.E. pertaining to taking depositions of U.S.
25   citizens to be used in a U.S. Federal lawsuit. Defendant has utterly failed to produce
26   any actual relevant, applicable legal research to support this argument.
27         Finally, Defendant’s claim that because Plaintiff’s deposition was taken
28   remotely, Defendant’s deposition should be taken remotely too misstates the factual

                                                 21
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD       Document 80 Filed 10/09/24       Page 23 of 32 Page ID
                                       #:791


 1   record. The reason why Plaintiff’s deposition was held remotely was to streamline the
 2   scheduling of his deposition prior to the start of his criminal trial in September as
 3   Defendant demanded, and the Court ordered the deposition of Plaintiff to be held
 4   remotely so as to accomplish this end at the first Informal Discovery Conference in this
 5   matter. As such, the scheduling of Defendant’s deposition cannot in good faith be
 6   compared to Plaintiff’s deposition scheduling because these two issues are predicated
 7   on different facts and circumstances.
 8         Accordingly, Plaintiff maintains that Defendant’s deposition should occur in-
 9   person in the United States, or alternatively, at the offices of Winston & Strawn LLP
10   located in either Paris, France or London, England. “‘Although the federal rules do not
11   prevent plaintiff’s designating any place he chooses for the taking of a defendant’s
12   deposition, the cases indicate that it is presumed that a defendant will be examined at
13   his residence or at his place of business or employment.’” (Willis v. Mullins, No. CV F
14   04-6542 AWILJO, 2006 WL 302343 (E.D. Cal. Feb. 8, 2006) [quoting Grey v.
15   Continental Marketing Assocs., 315 F.Supp. 826, 832 (N.D. Ga. 1970)].) If the parties
16   cannot resolve any disputes regarding a party’s deposition, “[t]he Court is permitted to
17   exercise broad discretion in determining the appropriate place for examination[.]”
18   (Turner, supra, 119 F.R.D. at 383.). All of the legal, equitable, safety, and practical
19   factors outlined above are real-world considerations that must be taken into account and
20   which the marketing pamphlets defense counsel provided as his “research” into the laws
21   and procedures in Dubai do not address. In the end, Dubai is simply not a practical
22   location for Defendant’s deposition, either in-person or remotely, for the reasons stated
23   herein and the Court should order the deposition to occur either in the United States or
24   at Winston & Strawn LLP’s offices in Paris, France or London, England.
25         B.     DEFENDANT’S POSITIONS:
26         Generally, when one party to a U.S. litigation case seeks evidence from another
27   party, the Federal Rules of Civil Procedure govern, even when the evidence is located
28   in a foreign jurisdiction. (Societe Nationale Industrielle Aeropatiale v. U.S. Dist. Ct.

                                                22
                       JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD       Document 80 Filed 10/09/24       Page 24 of 32 Page ID
                                       #:792


 1   S.D. Iowa 482 U.S. 522 (1987); Int’l Soc’y for Krishna Consciousness, Inc. v. Lee 105
 2   FRD 435, 445 (S.D.N.Y. 1984).
 3         The Hague Convention is an international treaty designed to facilitate the taking
 4   of evidence abroad. The Hague Convention streamlines the procedures for seeking
 5   evidence abroad using the United States Courts to request evidence taking procedure
 6   such as depositions with letters rogatory that are sent directly to the foreign country’s
 7   designated authority and to allow the bypass of diplomatic channels. These discovery
 8   procedures for those countries that are parties to the Hague Convention Treaty are set
 9   forth on the United States State Department website. The letters rogatory issued by the
10   Federal Court and that are required by the Hague Convention applicable to a foreign
11   country that is a signatory on the treaty are issued pursuant to 28 U.S.C. Sec. 1781 and
12   Federal Rule of Civil Procedure Section 28(b). They are then provided to the designated
13   authority. The State Department currently estimates that it could take up to six months
14   to a year, depending on the country, to obtain permission to obtain evidence such as a
15   deposition in that applicable country.
16         The United States Department of State publishes Legal Assistance Information
17   for each country on their procedures under the Hague Convention to conduct discovery
18   in that country. Pursuant to Federal Rule of Evidence 201(b), this court is requested to
19   take judicial notice of Exhibit “A” which contains the United States State Department
20   Judicial Assistance Information for the Hague Convention procedures for the taking of
21   depositions in the United Kingdom. This court is requested to take judicial pursuant to
22   Federal Rule of Civil Procedure 201(b) of Exhibit ”B” which contains the United States
23   State Department Judicial Assistance Information for the Hague Convention procedures
24   for the taking of depositions in France and Exhibit “C” which contains the United States
25   State Department Judicial Assistance Information for taking depositions in the United
26   Arab Emirates in Dubai which is not a signatory to the Hague Convention and where
27   there are no formal procedures that must be followed to take depositions in Dubai.
28         As the court can see, the United Kingdom and France are signatories of the Hague

                                                23
                       JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD        Document 80 Filed 10/09/24         Page 25 of 32 Page ID
                                        #:793


 1   Convention. They require letters rogatory and strict procedures that must be followed
 2   to obtain those two country’s consents to take depositions involving a witness or party
 3   in a United States civil case in that country. It could take weeks if not months to obtain
 4   the consents from France or the United Kingdom to take depositions in their countries
 5   involving a United States Court civil case. No such requirements exist for the United
 6   Arab Emirates for the taking of depositions in Dubai because it is not a signatory or
 7   party to the Hague Convention Treaty.
 8         Unless the district court is required to use the Hague Convention procedures to
 9   obtain discovery in a foreign country, discovery may be obtained from persons outside
10   the United States under appropriate provisions of the Federal Rules of Civil Procedure.
11   More specifically, under Federal Rule of Civil Procedure 28, the court can order the
12   taking of a deposition abroad either by following the Hague Conventional Rules, or
13   before a commissioned person by the court; or pursuant to letters of request (rogatory),
14   or under notice before a person authorized to administer oaths (court reporter) where
15   the deposition is being held. (Federal Rule of Civil Procedure 28(b)(1).)
16         A district court may order the issuance of a subpoena requiring a U.S. national or
17   resident to return to the U.S. to testify before the district court or any person or body
18   designated by the court. Such an order may be issued upon findings that particular
19   testimony is necessary in the interest of justice, and it is not possible to obtain his
20   testimony in admissible form without his personal appearance. (28 U.S.C. Sec.
21   1783(a).) The court must order travel expenses be tendered to the deponent with the
22   service of the subpoena.
23         The district court has the discretion to deny issuance of a Section 1783(a)
24   subpoena if it finds that the interests of justice can be served by a deposition in a foreign
25   country. Legislative history shows that Section 1783(a) was intended to guarantee not
26   only that in proper cases a subpoena will always be available, but also that burdens upon
27   U.S. citizens and residents abroad will not be imposed without a compelling reason.
28   (United States v. Johnson (9th Cir. 1984) 735 F.2d 1200, 1202.) Normally, a defendant

                                                  24
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD       Document 80 Filed 10/09/24        Page 26 of 32 Page ID
                                       #:794


 1   must be deposed where he resides and if another place is requested or designated,
 2   Defendant’s objections to the location designated by Plaintiff should be sustained
 3   absent some unusual circumstances to justify putting defendant to such inconvenience.
 4   (Grey v. Continental Marketing Assocs., Inc. (ND GA 1970) 315 F. Supp. 832.)
 5         As was previously mentioned, the Federal Rules of Civil Procedure govern
 6   depositions to be taken in a foreign jurisdiction. (Societe Nationale Industrielle
 7   Aeropatiale v. U.S. Dist. Ct. S.D. Iowa 482 U.S. 522 (1987); Int’l Soc’y for Krishna
 8   Consciousness, Inc. v. Lee 105 FRD 435, 445 (S.D.N.Y. 1984). Therefore, under
 9   Federal Rule of Civil Procedure 30(b)(4), this court can order that the deposition of
10   Defendant who resides in Dubai can be taken remotely and using zoom.
11         Generally, there is good cause for the court to order a remote zoom deposition
12   procedure for the taking of a deposition when the plaintiff will not be prejudiced and
13   there is a desire to save attorney’s fees and costs that would otherwise be incurred using
14   a normal deposition procedure such as an in-person deposition procedure. (Federal Rule
15   of Civil Procedure 30(b)(4); Estate of Gerasimenko v. Cape Wind Trading Co. (SD NY
16   2011) 385, 390; Cressler v. Neuenschwander (D KS 1996) 170 FRD 20, 21.
17         On October 4, 2024, this court ruled that Defendant resides in Dubai. The
18   defendant has agreed to be deposed in person in Dubai. He has agreed to pay for one of
19   Plaintiff’s lawyers and the deposition professionals’ travel expenses, accommodation,
20   and travel time to go to Dubai to depose him there but not including the time spent at
21   his deposition. Since Dubai is not a member of the Hague Convention treaty and is not
22   bound by its procedures, Defendant’s deposition can be taken right away. Defendant
23   agrees that the Federal Rules of Civil Procedure and the Federal Rules of Evidence
24   govern his deposition to be taken in Dubai. He also agrees that the deposition transcript
25   of his deposition can be used as evidence during the trial of this case.
26         Alternatively, and as his first choice, Defendant requests that the court order a
27   zoom deposition of Defendant. The defendant agrees that the Federal Rules of Civil
28   Procedure and the Federal Rules of Evidence govern his deposition taken in Dubai. He

                                                 25
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD       Document 80 Filed 10/09/24        Page 27 of 32 Page ID
                                       #:795


 1   also agrees that the deposition transcript of his deposition can be used as evidence
 2   during the trial of this case. The Plaintiff’s deposition was taken by zoom. The parties
 3   and counsel will save a lot of money on attorney’s fees, costs, and travel time by taking
 4   Defendant’s deposition by zoom. The deposition can also be taken right away and
 5   without the long delay that would be caused trying to take it in France or the United
 6   Kingdom with the required strict compliance with the Hague Treaty rules or with some
 7   delay to make travel arrangements to Dubai.
 8         Plaintiff wants the Defendant to come to the United States or possibly France or
 9   the United Kingdom to be deposed in person. The Plaintiff has not demonstrated a
10   willingness at any time during these proceedings to pay Defendant’s and his counsel’s
11   attorney time and travel expenses to leave Dubai and go elsewhere for the taking of his
12   deposition. Both England and France have complicated and time-consuming Hague
13   Convention rules that must be complied with to take a deposition in those countries and
14   it remains to be seen if Defendant can be compelled to attend a deposition in either
15   country where he does not reside in either France or the United Kingdom. Plaintiff has
16   not shown how or why an in-person deposition of Defendant is more effective all around
17   than simply taking it by zoom. Use of Zoom technology is very effective in cross-
18   examining a witness or party during a deposition as well as using exhibits either in the
19   share function of the program or using the chat function on Zoom. Court reporters and
20   videographers are well trained to assist with the taking of Zoom depositions.
21         What this is all about is Plaintiff’s and his counsel’s stall and delay tactics. They
22   want to hinder and impair the motion for summary judgment the Defendant intends to
23   file as soon as these deposition issues are resolved by the court.
24         On August 17, 2024, Defendant’s counsel sent Plaintiff’s counsel an e-mail and
25   notified him that pursuant to FRCP 56 that Defendant intended to bring a motion for
26   summary judgment and/or for summary adjudication of issues. They have known for
27   almost two months of Defendant’s intent to proceed with his motion for summary
28   judgment. In response, Plaintiff has not reasonably cooperated and has not acted

                                                 26
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD       Document 80 Filed 10/09/24        Page 28 of 32 Page ID
                                       #:796


 1   promptly to take Defendant’s deposition using the easiest, most efficient, and most cost-
 2   effective method to depose Defendant. Instead, they have proposed taking an in-person
 3   deposition of Defendant using the most time consuming and expensive methods of
 4   deposing him which requires compliance with complicated Hague Convention rules and
 5   foreign country rules, travel and substantial expense of the parties in attorney’s fees,
 6   accommodations, travel expenses and costs while also hoping to use their self-imposed
 7   delay to try and block Defendant’s motion for summary judgment because they have
 8   not taken Defendant’s although this case has been pending for almost ten months.
 9         Submitted with this Brief is the Declaration of Kimberly Carman who is the
10   Director of Operations for Optima Juris International Deposition Agency which
11   specializes in setting up and helping its customers take international depositions. The
12   court is requested to review and consider that Declaration. The court is also respectfully
13   requested to order that Defendant’s deposition be taken by zoom or alternatively and an
14   in-person deposition be taken of Defendant in Dubai where he resides.
15                1.     Defendant’s Reply to Plaintiff’s Positions
16         In preparing his positions above, all that Plaintiff did was take his previous
17   briefing that was filed with the court and cut and pasted it into this document. It is
18   repetitive of the previous briefing and does not contain much in the way of new
19   argument and law that the court requested to address the issue of how and where
20   Defendant’s deposition should be taken. The reason little to no real new law and
21   argument has been submitted by Plaintiff is because the actual laws and rules applicable
22   to Defendant’s deposition are not helpful to Plaintiff’s positions.
23         First, Plaintiff ignores the court’s clear ruling at the last hearing that Defendant
24   resides in Dubai. Plaintiff makes argument without any supporting evidence that
25   Defendant does not live in Dubai but some other states in the United States.
26         Second, Plaintiff admits that Defendant is entitled to be deposed where he resides
27   and cites the case of Fausto v. Credigy Serv. Corp. 251 F.R.D. 427, 429 (N.D. Cal.
28   2008) in support of that admission. Defendant’s objections to a location other than the

                                                27
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD        Document 80 Filed 10/09/24        Page 29 of 32 Page ID
                                        #:797


 1   location of his residence should be sustained absent some unusual circumstances to
 2   justify putting Defendant to such inconvenience. (Grey v. Continental Marketing
 3   Associates, Inc. (ND GA 1970) 315 F. Supp. 832.
 4         Then the Plaintiff falsely contends that the law is silent with regard to choosing
 5   the location where the defendant is to be deposed but ignores altogether the provisions
 6   of Federal Rule of Civil Procedure 28(b) which sets forth the rules for the taking of the
 7   deposition of a party or witness that lives abroad.
 8         Third, Plaintiff suggests that if the United Arab Emeritas is not a signatory to the
 9   Hague Convention that Defendant’s deposition cannot be taken in Dubais when (a) the
10   United States State Department website (Exhibit “C”) shows that there are no rules or
11   laws pertaining to the United Arab Emeritas including the Hague Convention which
12   actually impairs the taking of Defendant’s deposition in Dubai. (See concurrently filed
13   Declaration of Kimberly Carman).
14         Fourth, Plaintiff admits that the court can issue a subpoena requiring Defendant
15   to come here for his deposition under 28 U.S.C. 1783, but he ignores the provisions of
16   this code that require Plaintiff to pay for Defendant’s travel expenses to come here
17   which he is unwilling to pay. Moreover, the Legislative history of Section 1783 was
18   intended to guarantee that the burdens imposed by such a subpoena will not be imposed
19   without a compelling reason and when a Defendant’s deposition can be taken instead
20   where he resides. (United States v. Johnson (9th Cir. 1984) 735 F.2d 1200, 1202.)
21   Defendant has agreed that his deposition if taken in Dubai will be governed by the
22   Federal Rules of Civil Procedure, the Federal Rules of Evidence and the deposition
23   transcript is admissible and can be used during the trial of this case.
24         Plaintiff falsely claims that the Hague Convention rules must be followed to take
25   a deposition in Dubai and cites to Federal Rule of Civil Procedure 28(b). However, that
26   code section has not been properly or fairly cited by Plaintiff. Under Federal Rule of
27   Civil Procedure 28, the court can order the taking of a deposition abroad either by
28   following the Hague Conventional Rules, or before a commissioned person by the

                                                 28
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD        Document 80 Filed 10/09/24       Page 30 of 32 Page ID
                                        #:798


 1   court; or pursuant to letters of request (rogatory), or under notice before a person
 2   authorized to administer oaths (court reporter) where the deposition is being held.
 3   (Federal Rule of Civil Procedure 28(b)(1).)
 4         There is no need to follow Hague Convention rules if there are none. There is no
 5   need for letters rogatory unless required by a country’s rules. The court does not need
 6   to order commission a person to take a deposition overseas. The court can simply order
 7   a deposition taken in a foreign country by a court reporter authorized to administer oaths
 8   in this case and to go to where the deposition is being held to take it. (Federal Rule of
 9   Civil Procedure 28(b)(1).
10         Plaintiff chose to cut and paste old arguments in previous briefs instead of even
11   attempting to determine if in fact there are any rules or Hague Convention requirements
12   that must be met and with the court required to issue a letter rogatory for Defendant’s
13   Deposition to be taken in Dubai. Exhibit “C” to Defendant’s deposition and for which
14   this court has been requested to take Judicial Notice pursuant to Rule of Evidence
15   201(b) which is the United States State Department’s publication on the requirements
16   to take a deposition in Dubai confirms there are no Hague Convention requirements or
17   United Arab Emirates rules that must be complied with for the court to order a court
18   reporter authorized to issue the oath to go to Dubai and take Defendant’s in person
19   deposition.
20         The Declaration of Kimberly Carman who is the Director of Operations Juris
21   International Depositions also confirms that nothing is required to take a deposition in
22   Dubai other than travel plans, bringing a court reporter authorized to administer the oath
23   to record the deposition and then going there to take it. She confirms that there are no
24   local rules or laws or Hague Convention requirements to take a deposition in Dubai.
25   She has been involved in the setting up of the taking of hundreds of depositions in Dubai
26   including for cases that are United States Court civil litigation cases. She relies on the
27   United States State Department website publication which she always uses to schedule
28   depositions in foreign countries to ensure that all rules of the foreign jurisdiction are

                                                29
                        JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD         Document 80 Filed 10/09/24      Page 31 of 32 Page ID
                                         #:799


 1   complied with including Hague Convention rules.
 2          As was previously mentioned, the Federal Rules of Civil Procedure govern
 3   depositions to be taken in a foreign jurisdiction. (Societe Nationale Industrielle
 4   Aeropatiale v. U.S. Dist. Ct. S.D. Iowa 482 U.S. 522 (1987); Int’l Soc’y for Krishna
 5   Consciousness, Inc. v. Lee 105 FRD 435, 445 (S.D.N.Y. 1984). Therefore, under
 6   Federal Rule of Civil Procedure 30(b)(4), this court can order that the deposition of
 7   Defendant who resides in Dubai can be taken remotely and using zoom.
 8          Plaintiff does not deny that Federal Rule of Civil Procedure 30(b)(4) can be used
 9   by the court in this court to order Defendant’s deposition by zoom. Defendant has
10   agreed that the deposition will be governed by the Federal Rules of Civil Procedure, the
11   Federal Rules of Evidence and the deposition transcript is admissible and can be used
12   during the trial of this case.
13          Finally, Plaintiff argues that equities should apply in the court’s decision but
14   Plaintiff only wants all equities to militate in his favor. He does not want to pay for
15   Defendant’s travel expenses or for the travel time and expenses of Defendant’s counsel.
16   Plaintiff’s deposition was taken by zoom to enable Plaintiff to save thousands of dollars
17   in attorney’s fees and costs. The sole reason Plaintiff wants to force Defendant to travel
18   is run up his costs. Plaintiff infers that he wants an in-person deposition of Defendant
19   so his counsel can confront him but does not explain how Defendant’s counsel was
20   hindered in his ability to depose Plaintiff which was not hindered by a zoom deposition.
21   Defendant should be given in equity the same opportunity Plaintiff had to be deposed
22   by zoom to save him thousands of dollars in costs and attorney’s fees.
23          ///
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                         JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
Case 2:23-cv-09430-SVW-PD     Document 80 Filed 10/09/24    Page 32 of 32 Page ID
                                     #:800


 1   Dated: October 9, 2024                     EARLY SULLIVAN WRIGHT GIZER
 2                                              & MCRAE LLP

 3
 4                                       By: /s/Zachary C. Hansen
 5                                              BRYAN M. SULLIVAN (State Bar No.
                                                209743)
 6                                              bsullivan@earlysullivan.com
                                                ZACHARY C. HANSEN (State Bar No.
 7                                              325128)
                                                zhansen@earlysullivan.com
 8                                              EARLY SULLIVAN WRIGHT GIZER
                                                & McRAE LLP
 9                                              6420 Wilshire Boulevard, 17th Fl.
                                                Los Angeles, California 90048
10                                              Telephone: (323) 301-4660
                                                Facsimile: (323) 301-4676
11
12                                              PAUL B. SALVATY (State Bar No.
                                                171507)
13                                              PSalvaty@winston.com
                                                WINSTON & STRAWN LLP
14                                              333 S. Grand Ave., 38th Fl.
                                                Los Angeles, CA 90071-1543
15                                              Telephone: (213) 615-1700
                                                Facsimile: (213) 615-1750
16
                                                ABBE DAVID LOWELL (pro hac vice
17                                              forthcoming)
                                                AbbeLowellPublicOutreach@winston.co
18                                              m
                                                WINSTON & STRAWN LLP
19                                              1901 L St., N.W.
                                                Washington, D.C. 20036-3508
20                                              Telephone: (202) 282-5000
                                                Facsimile: (202) 282-5100
21                                              Attorneys for Plaintiff Robert Hunter
                                                Biden
22
     Dated: October 9, 2024                     LAW OFFICES OF MICHAEL C.
23                                              MURPHY
24
25                                               /s/ Michael C. Murphy
26                                               Michael C. Murphy, Esq.
27                                               Michael C. Murphy, Jr., Esq.
                                                 Attorneys for Defendant,
28                                               Patrick Byrne

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                      JOINT STATEMENT RE: DEFENDANT’S DEPOSITION
